           Case 1:19-vv-00444-UNJ Document 41 Filed 08/06/21 Page 1 of 5




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-444V
                                          UNPUBLISHED


    SARA DORMAN,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: July 6, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Kenneth W. Thayer, III, Brandon J. Broderick, Attorney at Law, LLC, Ewing, NJ, for
petitioner.

Dhairya Divyakant Jani, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

        On March 25, 2019, Sara Dorman filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) resulting from the influenza (flu) vaccination she received on
September 12, 2017. Petition at 1. Petitioner further alleges she received the vaccination
in the United States, her condition persisted for more than six months, and that she has
not received compensation in the form of award or settlement for her vaccine related
injuries nor has she filed civil action for her injuries prior to filing her petition. Petition at 1,
6-7. The case was assigned to the Special Processing Unit of the Office of Special
Masters.


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:19-vv-00444-UNJ Document 41 Filed 08/06/21 Page 2 of 5



        On July 7, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On July 2, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $97,500.00. Proffer at
1. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.
Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $97,500.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
         Case 1:19-vv-00444-UNJ Document 41 Filed 08/06/21 Page 3 of 5




               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

*****************************
SARA DORMAN,                *
                            *
              Petitioner,   *
                            *
v.                          *                               No. 19-444V (ECF)
                            *                               CHIEF SPECIAL MASTER
                            *                               BRIAN H. CORCORAN
SECRETARY OF HEALTH         *
AND HUMAN SERVICES,         *
                            *
              Respondent.   *
*****************************

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On March 25, 2019, Sara Dorman (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine Administration

(“SIRVA”), as defined in the Vaccine Injury Table, following administration of an influenza

vaccine on September 12, 2017. Petition at 1. On July 7, 2020, the Secretary of Health and

Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is appropriate

for compensation under the terms of the Act for a SIRVA Table injury, and on that same date,

the Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to

compensation. ECF No. 25; ECF No. 26.

I.     Items of Compensation

       Respondent proffers that petitioner should be awarded $97,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       This amount represents all elements of compensation to which petitioner is entitled under

42 U.S.C. § 300aa-15(a). Petitioner agrees.
          Case 1:19-vv-00444-UNJ Document 41 Filed 08/06/21 Page 4 of 5




II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $97,500.00, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Sara Dorman:                          $97,500.00


                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              ALEXIS B. BABCOCK
                                              Assistant Director
                                              Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
         Case 1:19-vv-00444-UNJ Document 41 Filed 08/06/21 Page 5 of 5




                                    /s/ DHAIRYA D. JANI
                                    DHAIRYA D. JANI
                                    Trial Attorney
                                    U.S. Department of Justice
                                    Torts Branch, Civil Division
                                    P.O. Box 146
                                    Benjamin Franklin Station
                                    Washington, D.C. 20044-0146
                                    Tel: (202) 616-4356
                                    Email: Dhairya.Jani@usdoj.gov
Dated: July 2, 2021




                                       3
